       Case 1:06-cr-00022-MP-GRJ                      Document 116      Filed 08/21/08    Page 1 of 7

FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                          Page 1 of 7
1:06CR22-001 - WILLIE DAMOND GREEN


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF FLORIDA
                                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA

-vs-                                                          Case # 1:06CR22-001

WILLIE DAMOND GREEN
                                                              USM # 20422-017

                                                              Defendant’s Attorney:
                                                              A. Huntley Johnson (Appointed)
                                                              226 SE 2nd Street
                                                              Gainesville, FL 32602
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

The defendant pled guilty to Count One of the Indictment on December 20, 2006. Accordingly, IT
IS ORDERED that the defendant is adjudged guilty of such count(s) which involve(s) the following
offense(s):

       TITLE/SECTION                            NATURE OF                 DATE OFFENSE
          NUMBER                                 OFFENSE                   CONCLUDED            COUNT

 21 U.S.C. §§ 841(a)(1),          Conspiracy to Manufacture,              February 16, 2006      One
 841(b)(1)(A)(ii) and (iii)       Distribute and to Possess with
 and 21 U.S.C. § 846              Intent to Distribute More than Five
                                  (5) Kilograms of a Mixture and
                                  Substance Containing Cocaine and
                                  More Than Fifty (50) Grams of a
                                  Mixture and Substance Containing
                                  Cocaine Base

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

IT IS FURTHER ORDERED that the defendant shall notify the United States attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

                                                              Date of Imposition of Sentence:
                                                              August 13, 2008



                                                              s/Maurice M. Paul
                                                              MAURICE M. PAUL, SENIOR
                                                              UNITED STATES DISTRICT JUDGE
                                                              August 21, 2008
      Case 1:06-cr-00022-MP-GRJ                       Document 116    Filed 08/21/08   Page 2 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                       Page 2 of 7
1:06CR22-001 - WILLIE DAMOND GREEN


                                                    IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 120 months. This sentence shall run concurrent with the sentences
imposed in Alachua County Case Numbers 01-2005-CF-1672-A and 01-2004-CF-4562-A.

The defendant shall receive credit for time served from September 13, 2006 to present.


The defendant was denied bond is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to _________________________________

at _____________________________________________, with a certified copy of this judgment.


                                                                 __________________________________
                                                                        UNITED STATES MARSHAL


                                                               By:__________________________________
                                                                           Deputy U.S. Marshal
      Case 1:06-cr-00022-MP-GRJ                       Document 116     Filed 08/21/08        Page 3 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                 Page 3 of 7
1:06CR22-001 - WILLIE DAMOND GREEN


                                              SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term
of 5 years.

       The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

               The defendant shall not commit another federal, state, or local crime and shall not
possess a firearm, destructive device, or any other dangerous weapon.

         The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

      The defendant shall not possess a firearm, destructive device, or any other dangerous
weapon.

          The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                              STANDARD CONDITIONS OF SUPERVISION

      The defendant shall comply with the following standard conditions that have been
adopted by this court.

1.        the defendant shall not leave the judicial district without the permission of the court or probation
          officer;

2.        the defendant shall report to the probation officer and shall submit a truthful and complete written
          report within the first five days of each month;

3.        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
          of the probation officer;

4.        the defendant shall support his or her dependents and meet other family responsibilities;

5.        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
          schooling, training, or other acceptable reasons;

6.        the defendant shall notify the probation officer at least 10 days prior to any change in residence or
          employment;

7.        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
          distribute, or administer any controlled substance or any paraphernalia related to any controlled
          substances, except as prescribed by a physician;

8.        the defendant shall not frequent places where controlled substances are illegally sold, used,
          distributed, or administered;
      Case 1:06-cr-00022-MP-GRJ                       Document 116       Filed 08/21/08         Page 4 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                                    Page 4 of 7
1:06CR22-001 - WILLIE DAMOND GREEN

9.        the defendant shall not associate with any persons engaged in criminal activity and shall not associate
          with any person convicted of a felony unless granted permission to do so by the probation officer;

10.       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
          shall permit confiscation of any contraband observed in plain view of the probation officer;

11.       the defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
          law enforcement officer;

12.       the defendant shall not enter into any agreement to act as an informer or a special agent of a law
          enforcement agency without the permission of the court; and

13.       as directed by the probation officer, the defendant shall notify third parties of risks that may be
          occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
          the probation officer to make such notifications and to confirm the defendant’s compliance with such
          notification requirement.

14.       if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the
          defendant pay any such fine or restitution in accordance with the Schedule of Payments set forth in
          the Criminal Monetary Penalties sheet of this judgment.

15.       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
          weapon.

16.       The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                     ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

          The defendant shall also comply with the following additional conditions of supervised
          release:

          The defendant shall not own or possess a firearm, dangerous weapon or destructive device.

          The defendant shall participate in a program of drug and/or alcohol testing , treatment and
          counseling, which may also include in-patient drug treatment.

          The defendant shall participate in a program of mental health counseling.

          The defendant shall remain gainfully employed or actively seek employment while under
          supervision.

        The defendant shall not operate a motor vehicle unless properly licensed.

        The defendant shall support his minor children and cooperate with the Probation Department
        and/or any other state agency responsible for the establishment and enforcement of child
        support payments. The defendant shall make all required child support payments. The
        defendant shall not pay child support directly to the custodial parent, but must pay the child
        support through a government agency. Any child support paid directly to the custodial parent
        will not be credited.
      Case 1:06-cr-00022-MP-GRJ                       Document 116   Filed 08/21/08   Page 5 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                      Page 5 of 7
1:06CR22-001 - WILLIE DAMOND GREEN


               Upon a finding of a violation of probation or supervised release, I understand the
Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
conditions of supervision.

       These conditions have been read to me. I fully understand the conditions and have
been provided a copy of them.




          Defendant                                                        Date




          U.S. Probation Officer/Designated Witness                        Date
      Case 1:06-cr-00022-MP-GRJ                       Document 116   Filed 08/21/08   Page 6 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                        Page 6 of 7
1:06CR22-001 - WILLIE DAMOND GREEN


                                     CRIMINAL MONETARY PENALTIES


         All criminal monetary penalty payments, except those payments made through the
Bureau of Prisons’ Inmate Financial Responsibility Program, are to be made to the Clerk, U.S.
District Court, unless otherwise directed by the Court. Payments shall be made payable to the
Clerk, U.S. District Court, and mailed to 111 N. Adams St., Suite 322, Tallahassee, FL 32301-
7717. Payments can be made in the form of cash if paid in person.

        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall pay
interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the
payment options in the Schedule of Payments may be subject to penalties for default and
delinquency pursuant to 18 U.S.C. § 3612(g).

                                                           SUMMARY
           Special
     Monetary Assessment                                     Fine                 Restitution
                $100.00                                     NONE                      NONE




                                   SPECIAL MONETARY ASSESSMENT

A special monetary assessment of $100.00 is imposed.

No fine imposed.

No restitution imposed.
      Case 1:06-cr-00022-MP-GRJ                       Document 116   Filed 08/21/08      Page 7 of 7



FLND Form 245B (rev 12/2003) Judgment in a Criminal Case                                            Page 7 of 7
1:06CR22-001 - WILLIE DAMOND GREEN


                                           SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-
federal victim restitution; (3) federal victim restitution; (4) fine principal; (5) costs; (6) interest; (7)
penalties in full immediately

The defendant must notify the court of any material changes in the defendant’s economic
circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon notice of
a change in the defendant’s economic condition, the Court may adjust the installment payment
schedule as the interests of justice require.

Special instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Unless the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment. In the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the
amount due. The defendant will receive credit for all payments previously made toward any
criminal monetary penalties imposed.
